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     Assistant Federal Defender
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4    Telephone: (916) 498-5700
5    Attorneys for Defendant
     CARRIE MARKIS
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7
                                      UNITED STATES DISTRICT COURT
8
                                    EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,                      )    Case No. 2:19-cr-062 JAM
                                                    )
11                    Plaintiff,                    )    STIPULATION AND ORDER TO MODIFY
                                                    )    SPECIAL CONDITIONS OF RELEASE
12          v.                                      )
                                                    )    Judge: Hon. CAROLYN K. DELANEY
13   CARRIE MARKIS,                                 )
                                                    )
14                   Defendant.                     )
                                                    )
15                                                  )
16
             IT IS HEREBY STIPULATED AND AGREED between plaintiff, United States of
17
     America, and defendant Carrie Markis, through their respective attorneys, that the release
18
     conditions imposed on Mr. Ms. Markis on January 28, 2019 (Dkt. 10), may be modified to
19
     change her computer use restriction. Condition 15 states:
20
             15.   You must participate in a computer restriction and monitoring program as
21   directed by the pretrial services officer. You must allow the pretrial services officer to
22   install monitoring software on any computers to which you have access, as approved by the
     Court, and you must not remove, tamper with, or in any way circumvent the software.
23
             The parties wish to modify Condition 15 as follows:
24
            15.     You must not access via computer or any device offering internet connection
25   any place commonly known and referred to as a "Dark Web" or Dark Net" websites, such as
26   Silk Road, AlphaBay, and Wall Street; you must not use digital/crypto-currency, such as
     Bitcoin, in Internet transactions; and, you must not access or use Tor, VPNs or any other
27   anonymity obscuring internet services.

28

      Stipulation to Modify Special Conditions of       -1-
      Release
       Case 2:19-cr-00062-JAM Document 39 Filed 05/21/19 Page 2 of 3


1            Pretrial Services Officer, Steven Sheehan, is in agreement with this request for
2    modification.
3            All other conditions shall remain in force.
4    DATED: May 20, 2019                            HEATHER E. WILLIAMS
5                                                   Federal Defender
6                                                   /s/ Matthew C. Bockmon
7                                                   MATTHEW C. BOCKMON
                                                    Assistant Federal Defender
8                                                   Attorney for CARRIE MARKIS

9    DATED: May 20, 2019                            MCGREGOR W. SCOTT
                                                    United States Attorney
10
11                                                  /s/ Paul Hemesath
                                                    PAUL HEMESATH
12                                                  Assistant United States Attorney
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      Stipulation to Modify Special Conditions of     -2-
      Release
       Case 2:19-cr-00062-JAM Document 39 Filed 05/21/19 Page 3 of 3


1                                                   ORDER
2            The following release condition is modified:
3    15.    You must not access via computer or any device offering internet connection any
     place commonly known and referred to as a "Dark Web" or Dark Net" websites, such as
4    Silk Road, AlphaBay, and Wall Street; you must not use digital/crypto-currency, such as
5    Bitcoin, in Internet transactions; and, you must not access or use Tor, VPNs or any other
     anonymity obscuring internet services.
6
     All other conditions shall remain in force.
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8
     Dated: May 21, 2019
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      Stipulation to Modify Special Conditions of    -3-
      Release
